EXHIBIT A
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION



VIRGINIA COALITION FOR IMMIGRANT
RIGHTS; LEAGUE OF WOMEN VOTERS
OF VIRGINIA; LEAGUE OF WOMEN
VOTERS OF VIRGINIA EDUCATION
FUND,


       Plaintiffs,
                                                        Case No. 1:24-cv-01778
               v.

SUSAN BEALS, in her official capacity as
Virginia Commissioner of Elections; JOHN
O’BANNON, in his official capacity as
Chairman of the State Board of Elections;
ROSALYN R. DANCE, in her official capacity
as Vice-Chairman of the State Board of
Elections; GEORGIA ALVIS-LONG, in her
official capacity as Secretary of the State Board
of Elections; DONALD W. MERRICKS and
MATTHEW WEINSTEIN, in their official
capacities as members of the State Board of
Elections; and JASON MIYARES, in his
official capacity as Virginia Attorney General,

               Defendants.



                      DECLARATION OF MICHAEL P. MCDONALD




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1   Background and Qualifications

I am Michael P. McDonald, Professor of Political Science at the University of Florida. I am
widely regarded as a leading expert on United States elections. I have published extensively on
elections in peer-reviewed journals and I produce what many consider to be the most reliable
turnout rates – the percentage of eligible voters who cast a ballot – of the nation and the states. 1 I
have published peer-reviewed articles specifically on the reliability of voter registration files 2
and matching algorithms as applied to voter registration files. 3 I am co-author of a book
concerning how limitations of computers to accurately store numeric data can lead to erroneous
statistical analyses. 4

In my career, I worked directly with state and local election officials in varying capacities. I led a
project to audit the placement of registered voters within districts for the Virginia Department of
Elections and the Colorado Secretary of State, using a methodology published in the top political
science methods journal. 5 These projects required my team to interface with local election
officials to resolve issues we identified. The Department of Defense’s Voting Assistant Program
hired me to interview local election officials about their procedures to process military and
overseas civilian ballots. I served on a National Academy of Sciences advisory group to the U.S.
Census Bureau on the Bureau’s data disclosure avoidance policies. In an ongoing project, a
research team I lead collected precinct boundaries from state and local election officials for every
locality in the country. My team has, on occasion, created electronic precinct maps for local
election officials where no electronic maps existed. These data have been used in numerous court
cases, including the recent Allen v. Milligan case heard before the U.S. Supreme Court. In
addition, I have worked for United States Election Assistance Commission, the media’s National
Exit Poll organization, the Associated Press, ABC News, and NBC News.

I have testified or submitted expert reports or declarations in numerous election related cases.
I was an expert witness for plaintiffs in three cases specifically related to voter registration and
documentary proof of citizenship (DPOC). In 2016, I was an expert witness for plaintiffs who
successfully challenged Kansas’ DPOC requirements. 6 In 2024, I was an expert witness for




1
  Michael P. McDonald and Samuel Popkin. 2001. “The Myth of the Vanishing Voter.”
American Political Science Review 95(4): 963-974.
2
  Michael P. McDonald. 2007. “The True Electorate: A Cross-Validation of Voter File and
Election Poll Demographics.” Public Opinion Quarterly 71(4): 588-602.
3
  Michael P. McDonald and Justin Levitt. 2008. “Seeing Double Voting: An Extension of the
Birthday Problem.” Election Law Journal 7(2): 111-22.
4
  Micah Altman, Jeff Gill, and Michael P. McDonald. 2003. Numerical Issues in Statistical
Computing for the Social Scientist. Hoboken, NJ: Wiley and Sons.
5
  Brian Amos and Michael P. McDonald. 2020. “A Method to Audit the Assignment of Voters to
Districts.” Political Analysis 28(3): 356-71.
6
  Fish v. Kobach, No. 2:16-cv-02105 (D. Kan.).
                                                   2
plaintiffs who successfully challenged, in part, Arizona’s DPOC requirements; 7 and for plaintiffs
who obtained a preliminary injunction in a challenge to Georgia’s DPOC requirements. 8

I have been an expert witness in other litigation challenging requirements related to voter
registration. I was an expert witness in 2016 for plaintiffs who successfully challenged a Georgia
policy that required the names and other information supplied by prospective registrants on their
voter registration applications to match exactly as it appears in other databases. 9 In 2007, I was
an expert witness for plaintiffs who successfully challenged a similar Washington State policy
that required an exact match of personal identification information across databases. 10 In 2019, I
was an expert witness in plaintiffs’ partially successful challenge to Georgia’s voter purging
practices. 11 I have been an expert witness in other litigation involving third-party voter
registration organizations in Florida. 12

In addition, I have an extensive publishing and consulting record and experience testifying in
redistricting and other election-related cases. For example, when I was employed previously at
George Mason University, I consulted for Gov. Bob McDonnell’s Independent Bipartisan
Advisory Redistricting Commission. I have also served as an expert witness for plaintiffs in two
redistricting lawsuits. Please see my curriculum vitae for more information, including my
published work over the last ten years and all cases where I testified as an expert over the last
four years.

I am compensated at a rate of $450/hour for my work in this case. My compensation is not
contingent on the substance of my opinions or the outcome of this case.

2 My Assignment
Plaintiffs’ lawyers asked me to review the Commonwealth of Virginia’s citizenship verification
procedures as amended by Gov. Glenn Youngkin’s Executive Order 35 and to opine on the
potential consequences of the policies on registrants.

3 Summary of Findings
It is my opinion that the Commonwealth of Virginia’s citizenship verification policies are flawed
because:




7
  Mi Familia Vota and Voto Latino v. Hobbs, et al. And Consolidated Cases. Case No. 2:22-cv-
00509-SRB (Lead Case) (D. Ariz.)
8
  Georgia Coalition for the Peoples’ Agenda, Inc. et al. v. Brad Raffensperger, 347 F. Supp. 3d
1251, 1263-64 (N.D. Ga. 2018). The plaintiffs in this matter ultimately lost the case at trial. See
Civil Action No. 1:18-cv-04727-ELR, Dkt. No. 241 (N.D. Ga. Apr. 11, 2024).
9
  Georgia State Conf. of the NAACP v. Kemp, No. 2:16-cv-00219-WCO (N.D. Ga.).
10
   Washington Association of Churches v. Reed, No. CV06-0726 (W.D. Wash.).
11
   Fair Fight Action, Inc. v. Raffensperger, No. 1:18-CV-5391-SCJ (N.D. Ga.).
12
   League of Women Voters of Florida v. Browning, No. 08-21243-CV-ALTONAGA/BROWN
and Florida Rising v. Lee. Case No. 4:21-cv-201-MW-MJF (N.D. FL).
                                                 3
   1. Virginia’s Department of Motor Vehicles database does not contain accurate citizenship
      information for all naturalized citizens. Virginia law does not require naturalized citizens
      to update their driver’s license information for up to eight years following naturalization.
   2. Citizens may have to affirm that they are U.S. citizens repeatedly unless and until they
      update their citizenship status with the DMV. According to an election official in one
      Virginia county, some citizens have been asked to affirm their U.S. citizenship as many
      as five times at various stages of the process.
   3. Natural-born citizens may be subjected to Virginia’s citizenship verification procedures
      due to minor administrative errors.
   4. Virginia’s citizenship affirmation procedures are implemented in an uneven manner
      across Virginia’s counties and independent cities.
   5. The citizenship verification procedures unduly burden impacted citizens with additional
      voter registration requirements.
   6. If, for any reason, a citizen does not respond to a citizenship affirmation letter within 14
      days, they may suffer immediate harms of being removed from the voter rolls and,
      potentially, unable to vote. They may also be subjected to criminal investigation. The
      burdens and potential harms imposed by Virginia’s citizenship verification policies may
      have additional short and long-term effects on individuals’ voter participation.
I reserve the right to supplement or revise my opinions based on additional or new information.

4 Virginia Citizenship Verification Procedures
DMV Provides Virginia Department of Elections with Citizenship Information from DMV
Customer Database
In the first quarter of 2021, the Virginia Department of Elections (ELECT) and the Virginia
Department of Motor Vehicles (DMV) entered into a memorandum of understanding (MOU) for
the transmission of information between the two agencies. Both parties signed an MOU on
September 3, 2024 that reaffirms the 2021 MOU, with some amendments.
Section 3.1 of the 2021 MOU provides for a monthly extract of information from the DMV to
ELECT that includes “…a NO answer to the citizenship question posed for voter registration
purposes.”
The monthly extract includes a citizenship identifier (“N = Non-citizen”) and “Any record
identified with an ‘N’ will also include the date of the declaration.
The extract includes personal identifying information that may be used to match DMV and
ELECT voter registration records, including Last name, First name, Middle name, Date of Birth,
Social Security Number, and DMV Customer Number. The MOU does not explicitly state if
ELECT includes the DMV Customer Number in their election management system, but my
interpretation of the available documentation is that ELECT tracks the DMV Customer Number
in their internal databases.



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   4.1 Governor Youngkin’s Executive Order Thirty-Five (2024)
Governor Glenn Youngkin issued Executive Order Thirty-Five (EO 35) on August 7, 2024,
entitled “Comprehensive Election Security Protecting Legal Voters and Accurate Counting.”
August 7, 2024 is ninety days prior to the November 5, 2024 general election. This is a
significant date for list maintenance in that the National Voter Registration Act forbids
systematic voter registration removal programs within ninety days prior to a federal election.
A few provisions of EO 35 pertain to ELECT’s citizenship validation procedures for registered
voters.
First, ELECT is instructed to:
     Remove individuals who are unable to verify that they are citizens to the DMV from the
     statewide voter registration list, should that individual either intentionally or
     unintentionally attempt to register to vote, in accordance with federal and state law.
Second, ELECT is instructed to:
     Compare the list of individuals who have been identified as non-citizens to the list of
     existing registered voters and then registrars notify any matches of their pending
     cancellation unless they affirm their citizenship within 14 days.
Additionally, DMV is instructed to:
     When issuing a credential such as a driver’s license, verify applicants’ proof of identity
     and legal status with the Department of Homeland Security Systematic Alien
     Verification and Entitlements (SAVE) database and the Social Security Administration
     database.
I note EO 35 is specific as to when DMV is directed to conduct a SAVE check: “[w]hen issuing
a credential.” Not all DMV transactions involve issuing a new credential to a DMV customer.
It is my understanding EO 35’s directive to DMV officials regarding use of the Department of
Homeland Security’s (DHS) SAVE database applies only to individuals who provide an Alien
Identification Number since this information is required to perform a SAVE verification check.

I do not have access to Virginia’s MOU with DHS regarding use of the SAVE database. I
reviewed Arizona’s DHS MOU as part of litigation raising similar issues. Based on my review of
Arizona’s DHS MOU, government documents, and statements by DHS and Arizona officials, it
is my understanding that a SAVE check may sometimes yield inconclusive results. When a
SAVE check is inconclusive, state officials are required by the DHS MOU to provide additional
documents to DHS. DHS then conducts a manual investigation of their records to ensure an
individual’s citizenship status is correctly identified to the best extent possible. I do not know if
Virginia is subject to these provisions and, if so, is compliant with them. 13




13
  I reserve the right to supplement or revise my opinions based on additional or new
information.
                                                 5
    4.2 DMV and ELECT implement Executive Order 35.
Since the parties entered into the 2021 MOU, DMV and ELECT have been actively sharing
citizenship information and Virginia election officials have used the information to remove
registrants. At the time of the signing of his executive order, Gov. Youngkin lauded the removal
of 6,303 registrants under that program from the Virginia rolls between January 1, 2022, and the
date E.O. 35 was issued.
Per Section 3.1 of the MOU DMV and ELECT entered into on September 3, 2024, DMV now
provides ELECT with a daily file of DMV customers that DMV records indicate are not U.S.
citizens.
     4.3 ELECT Issues an Affirmation of United States Citizenship Form to DMV-flagged
         Non-citizens
ELECT promulgates Step by Step instructions on how operators of the VERIS system –
Virginia’s electronic election and voter registration management systems – are to process
Virginia voter registrations. 14
The procedures for “Declared Non-Citizens” on p. 33 of the instructions apply to “matches,”
presumably from data shared with election officials from the DMV as required by the MOU
between DMV and ELECT. Registrants matched as non-citizens are placed within the Declared
Non-Citizen Hopper.
The procedures on p. 35 provide two options for a VERIS operator.
Option 1.
In the event a DMV record indicating that an individual is a non-citizen matches to a record in
Virginia’s voter file, an “Affirmation of United States Citizenship form” must be sent to a
registrant along with a letter entitled “Notice of Intent to Cancel.” That letter informs the voter
that “[w]e have received information that you indicated on a recent DMV application that you
are not a citizen of the United States.”
If the registrant affirmatively responds and mails the local registrar a completed Affirmation of
Citizenship form within 14 days, then the registrant is marked as confirming their citizenship and
the registrant is removed from the Declared Non-Citizen Hopper.

With respect to people who do not return the Affirmation of Citizenship form, the Notice of
Intent to Cancel provides that “[i]f you do not respond within 14 days, you will be removed from
the list of registered voters.”
Option 2. If the operator determines a non-citizen record from the DMV does not match the
registrant, then the operator removes the record from the Declared Non-Citizen Hopper and the
registrant is retained on the voter rolls if they are otherwise eligible to vote.




14
  “Virginia Department of Elections Hopper Processing and Information: Step by Step
Instructions.” Author: Kim Minor. Rev.10/05/2023 by Divya Gautam and Vaidehi Maddireddy.
                                                  6
5     Difficulties with Virginia’s Citizenship Verification Procedures
   5.1 DMV Customer Data Has Stale Citizenship Information
Virginia legal permanent residents are permitted to obtain driver’s licenses and other forms of
state identification, which can remain valid for up to eight years.
No United States state or commonwealth requires naturalized citizens to immediately update
their citizenship status upon achieving U.S. citizenship, including the Commonwealth of
Virginia.
Executive Order 35’s text acknowledges that some individuals may have interactions with the
DMV that do not result in their citizenship information being corrected or updated in the
database, noting DMV only verifies customers’ citizenship status “[w]hen issuing a credential.”
This increases the likelihood that the citizenship information contained in the DMV database is
outdated for some individuals.
In my capacity as an expert witness in Arizona and Georgia, I reviewed extensive documentation
and testimony indicating that DMV customer records maintained by driver’s license agencies
only provide accurate citizenship status for naturalized citizens if naturalized citizens
affirmatively provide such documentation to DMV of their own volition. The usual
circumstances for a naturalized citizen to contact the DMV is when they have a need to update or
renew their driver’s license. Virginia DMV instructions promulgated on the DMV website
appear to be at least similar and perhaps less demanding than Arizona and Georgia in that: 15
     You will not be required to submit proof of legal presence again if you are:
     •   A U.S. citizen, a legal permanent resident of the U.S. or a conditional resident of the
         U.S and have presented proof of legal presence since 2004 or,
     •   An approved asylee or refugee in the U.S. or a citizen of the Freely Associated states
         (Micronesia, Palau or Marshall Islands) and have presented supporting documentation
         to DMV since July 1, 2020.
I have served as an expert witness in litigation challenging election officials’ usage of the
Arizona Department of Transportation (ADOT) credential database to determine citizenship
status. Arizona election officials were aware of the limited accuracy of the ADOT credential
database as an indicator of citizenship status because the Secretary of State’s office instructs
county recorders that ADOT’s citizenship information indicates – similar to EO 35 – only a
registrant’s citizenship status “at the time of issuance” of an ADOT customer record. 16
In Georgia, I served as an expert in a challenge to the use of Georgia’s driver’s license database
for purposes of flagging potential noncitizens. My analysis in that case is consistent with my



15
   See: https://www.dmv.virginia.gov/licenses-ids/id-cards/legal-presence (Accessed October 11,
2024).
16
   Expert Report of Michael McDonald, p. 20, (Mi Familia Vota and Voto Latino v. Hobbs, et al.
And Consolidated Cases. Case No. 2:22-cv-00509-SRB (Lead Case) (D. Ariz.); (2019 Arizona
Elections Manual, p. 4).
                                                  7
analysis here that the driver’s license database is “frequently out of date for newly naturalized
citizens and thus is an unreliable indicator of a person’s citizenship status.” 17
The experience of other states that have attempted to rely on driver’s license agency databases to
confirm citizenship status demonstrates both the unreliability of these databases and the impact
these processes have on naturalized citizens. In 2018, the Texas Secretary of State compared the
voter registration database to Texas’s driver license agency database, claimed to identify 98,000
noncitizens registered to vote, and threatened to remove them from the rolls. After investigation,
it appeared that nearly all of those individuals were naturalized citizens and Texas only identified
approximately 80 ineligible voters. 18 Florida had a similar experience. 19 In both cases, the
practices were halted by litigation.
Given my review of (1) Virginia’s procedures described in the 2021 and 2024 MOUs and EO 35;
(2) my experience as an expert witness in similar Arizona and Georgia cases; and (3) the
experience of other states implementing similar practices, it is my opinion that Virginia’s
citizenship verification procedures subject naturalized citizens to additional voter registration-
related burdens that are not faced by natural-born U.S. citizens.
Recent events in Fairfax and Prince William Counties demonstrate some of the impacts that
Virginia’s matching procedures are having on eligible registrants.
The Fairfax County Electoral Board discussed this issue at their August 15, 2024 meeting. 20 At
the meeting, Fairfax County Registrar Eric Spicer reported that 66 registrants were sent an
Affirmation of United States Citizenship Form. Of these registrants, 17 confirmed their
citizenship within the prescribed 14 days.
A Fairfax County Electoral Board Member, Christopher Henzel, stated at the August 15 meeting
that his understanding “was that many of these individuals are citizens who inadvertently
checked the wrong box or did not check any box on the DMV website.” This is a possible source
of inaccurate citizenship information in the DMV database, in addition to it containing outdated
citizenship information in some instances. In my experience as a public opinion researcher, poll
respondents often make minor errors. Government forms are substantially similar to survey
questionnaires. 21




17
   Declaration of Michael McDonald, p. 4, Ga. Coalition for the People’s Agenda, Inc. v.
Raffensberger, 1:18-cv-04727-ELR (N.D. Ga. May 27, 2021).
18
   See LULAC v. Whitley, No. SA-19-CA-074-FB, Doc. 61, at 2 (W.D. Tex., Feb. 27, 2019).
19
   See United States v. Florida, 870 F. Supp. 2d 1346, 1347-1348 (N.D. Fla. 2012) (Hinkle, J.)
(explaining that Florida election officials identified only “a small number” of ineligible voters
from Secretary of State’s list of “180,000 registered voters who he said might be noncitizens”).
20
   MINUTES, Fairfax County Electoral Board, August 15, 2024. P. 7.
21
   For a discussion, see: Enrijeta Shino, Michael Martinez, Michael P. McDonald, and Daniel
Smith. 2020. “Verifying Voter Registration Records: Part of Special Symposium on Election
Sciences.” American Politics Research 48(6): 677-81.
                                                 8
At the September 15, 2024 Fairfax County Electoral Board meeting, Mr. Spicer identified
additional errors with many of the approximately 1,006 noncitizens identified by ELECT in the
entirety of the citizenship affirmation process: 22
     Mr. Spicer clarified that the 1,006 figure is now reduced to 828 individuals based on
     reregistration, relocation, death, etc. 23 Before any names are referred, the 828 names need
     to be triple checked to ensure that no one receives the non-citizen confirmation letter in
     error.
Other Virginia registrars may not be employing the same amount of discretion and verifying the
accuracy of ELECT noncitizen information before sending the Affirmation of United States
Citizenship and Notice of Intent to Cancel forms to a registrant. During a September 30, 2024,
Board of Elections hearing, Prince William Registrar Eric Olsen indicated that he has been
asking registrants to re-verify that they are U.S. citizens even if they have previously returned an
Affirmation of United States Citizenship Form to his office: 24
     We looked at 162 individuals that were listed as noncitizens in the VERIS system. Forty-
     three of those have voted. We looked at all forty-three of those. Every single one of them
     had verified their citizenship previously. Some by as many as five times. All had Social
     Security Numbers. And we had to cancel them because of state protocol, but we also didn’t
     see any issue that they had done anything illegal.
It is too soon to determine if the 49 registrants discussed at the August 15 meeting of the Fairfax
County Electoral Board who failed to respond to the Affirmation of United States Citizenship
Form are indeed non-citizens who are completing affirmation forms to the contrary, or are
citizens who simply did not receive or return the letter in a timely manner or did not understand
the potential import of a failure to return it to election officials. Indeed, at a September 16
meeting of the Fairfax County Electoral Board, Board Chairperson Katherine Hanley stated that
she is receiving “phone calls that the confirmation of citizenship status letter looks like a
hoax.” 25
The consequences for failure to respond to the Affirmation of United States Citizenship Form
can be severe. EO 35 directs registrars to “immediately notify the Commonwealth’s Attorney for
their jurisdiction of the alleged unlawful conduct.” If the experiences of other states serve as a
guide, subsequent investigations will confirm that most, if not all, of the registrants identified as
noncitizens by the matching process will ultimately be determined to be U.S. citizens.
   5.2 Matching is Also Harmful to Registrants Not Using the DMV Portal
Some natural-born U.S. registrants may be flagged by the matching process and required to
affirm their U.S. citizenship through no fault of their own, through the bad luck of having the
same first name, last name, and birth date as a DMV customer holder identified as being a non-

22
   MINUTES, Fairfax County Electoral Board, September 16, 2024. P. 6.
23
   I note “etc.” is inclusive of individuals identified as noncitizens due to any of the potential
sources of error identified above.
24
   PWC Electoral Board Meeting - September 30, 2024. Video available at:
https://www.youtube.com/watch?v=Zr0LSt3xwCk (Mr. Olsen’s remarks occur at the 29 minute
mark.)
25
   MINUTES, Fairfax County Electoral Board, September 16, 2024. P. 6.
                                                   9
citizen. Likewise, a non-citizen could erroneously be categorized as a citizen due to user error by
a DMV employee.
The 2021 MOU Section 7.3 indicates a successful match requires an exact match of Social
Security Number, first name, last name, and date of birth. In the event a registrant does not
provide a Social Security Number, then DMV matches on first name, last name, and date of
birth.
It is my opinion, through my prior research into list matching, 26 that a sizable number of
registrants, numbering in the thousands in the Commonwealth of Virginia, which has millions of
registration records, may share the same first name, last name, and birth date.
ELECT operators are given little, if any, guidance or criteria directing how to determine if a
match is accurate or false based on other information available to the operator. The Voter
Registration List Maintenance Department of Motor Vehicles: Full SBE & Noncitizens Standard
Operating Procedures (SOP) Section 4.1 merely states, “[t]he GR reviews the match to determine
if the non-citizen and registered voter identified by VERIS is the same person” without any
further explanation or elaboration. 27
Thus, it is my opinion that ELECT operators may, at their arbitrary discretion, issue an
Affirmation of United States Citizenship form to some natural-born citizens of the United States
simply because they share a name and birth date with a naturalized citizen who has not updated
their DMV record.
     5.3 Registrants May Be Required to Respond to Multiple Affirmation of United States
         Citizenship Forms
Registrants who affirmatively respond to the Affirmation of United States Citizenship Form may
be repeatedly flagged as a noncitizen unless they update their DMV citizenship status.
When a registrant provides citizenship information to ELECT, there is no mechanism for that
information to be updated in the DMV customer database.
There is no indication in the procedures I reviewed that a registrant who has returned an
Affirmation of United States Citizenship form is excluded from the matching process in the
future unless they have provided acceptable DPOC to DMV officials. I can find no exception in
the ELECT documents I reviewed that excludes individuals who have already provided DPOC to
county election officials or responded affirmatively to a prior Affirmation of United States
Citizenship Form.
Furthermore, both MOUs explicitly provide that citizenship information is transmitted one way
from DMV to ELECT. There is no mechanism for ELECT to notify DMV that an individual has
provided acceptable DPOC or affirmed their citizenship to ELECT. For example, Section 7.2 of
the 2021 MOU lists the data elements ELECT provides DMV, which does not include a
citizenship identifier. The 2024 MOU Section 5.1 states DMV will provide ELECT with “read-
only access to relevant DMV information systems.”


26
   See: Michael P. McDonald and Justin Levitt. 2008. “Seeing Double Voting: An Extension of
the Birthday Problem.” Election Law Journal 7(2): 111-22.
27
   LMSOP_DMV Full SBE and Non Citizen (1)_Redacted.pdf1
                                                10
That registrants may be asked repeatedly to complete an Affirmation of United States
Citizenship Form or face removal from the voter rolls is supported by Prince William Registrar
Eric Olsen’s statements at the September 30 board meeting that some of the individuals who he
had removed from the voter registration list have been asked to affirm their U.S. citizenship “as
many as five times” at various stages of the process.28

6 Long-term Detriment to Voters
Registrants who are citizens but are inaccurately flagged as noncitizens through a database match
are required to go through the burdensome step of completing and returning a form affirming
U.S. citizenship. If they fail to take action, perhaps because they do not receive the Affirmation
of United States Citizenship form, they may be unable to vote in an upcoming election and be
referred for criminal investigation.
There has been no study of the effects of these potential disruptive interactions with government
mandated through Executive Order 35 and Va. Code § 24.2-427 because these burdensome
policies have yet to be implemented anywhere in the United States. However, studies show that
individuals who have negative interactions with the legal system are less likely to vote (Burch
2011; Weaver and Lerman 2010; Ben-Menachem and Morris 2022).29 I infer from these studies
that citizens who are wrongly accused of being noncitizens may be deterred from voting in future
elections even when they are ultimately determined to be citizens.
Furthermore, affected citizens’ long-term voting propensities may suffer because they are
delayed in establishing a voting habit. Registering to vote is a strong signal by an individual that
they wish to participate in American democracy. A seminal scholarly article on the subject, which
is aptly titled “Why Do People Vote? Because They Are Registered,” discussed this point.30
While registration being a necessary condition for an individual to vote may be, in the words of
this author, “all too obvious,”31 not only does denying registrants their right to vote prevent their
participation in a particular election, but there is also consensus that voting in one election
increases the propensity of a registrant to participate in subsequent elections. Thus, denying
individuals their right to vote has an immediate and long-term harm on their voting propensities.
Survey researchers have long understood that past voting participation reliably predicts future
voting participation. As early as 1960, the venerable Gallup survey asked survey respondents


28
   PWC Electoral Board Meeting - September 30, 2024. Video available at:
https://www.youtube.com/watch?v=Zr0LSt3xwCk (Mr. Olsen’s remarks occur at the 29 minute
mark.)
29
   Burch, Traci R. 2011. “Turnout and Party Registration among Criminal Offenders in the 2008
General Election.” Law & Society Review 45 (3): 699–730; Ben-Menacham, Jonathan and Kevin
Morris. (2022). “Ticketing and Turnout: The Participatory Consequences of Low-Level Police
Contact.” American Political Science Review. Online First; Weaver, Vesla M., and Amy E.
Lerman. 2010. “Political Consequences of the Carceral State.” American Political Science
Review 104 (4): 817–33.
30
   Robert S. Erikson. 1981. “Why Do People Vote? Because They Are Registered.” American
Politics Quarterly 9(3): 259-76.
31
   Ibid, p.259.
                                                 11
about their voting history in order to predict voting in an upcoming election. 32 Another highly
respected polling organization, Pew Survey Research, uses similar questions in their likely voter
models. 33 In recent years, survey researchers have supplemented their surveys with direct
measures of voting history available from voter registration files, and they have found that
election officials’ records of registrants’ past voting ably predicts future voting propensities. 34
Probing more deeply as to why past voting predicts future voting, scholars find voting is
habitual, and as such, “…turnout in a given presidential election is a powerful determinant of
turnout in the subsequent presidential contest.” 35
A large body of scholarly research finds increasing the cost of voter registration decreases voter
turnout rates. 36 These costs tend to disproportionately affect lower propensity voters, such as
persons of color and young people. Scholarly findings show that imposing additional voting
costs leads “younger people [to be] more inclined to simply not vote at all.” 37
From the preponderance of social science research, I conclude that Virginia’s Executive Order
35 and Va. Code § 24.2-427 have an immediate and long-term harm on these registrants’
participation in America’s democracy.




32
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                                                 12
I declare that the foregoing is true and correct under penalty of perjury. Executed this
___11th___ day of October, 2024, in Gainesville, Florida.




                                            Michael McDonald




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Peer-Reviewed Articles

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Law Review Articles

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Peer-Reviewed Book Chapters

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  'LVWULFWV´LQ0RELOL]LQJ'HPRFUDF\$&RPSDUDWLYH3HUVSHFWLYHRQ,QVWLWXWLRQDO%DUULHUV
  DQG3ROLWLFDO2EVWDFOHV0DUJDUHW/HYL-DPHV-RKQVRQ-DFN.QLJKWDQG6XVDQ6WRNHVHGV
  1HZ<RUN1<5XVVHOO6DJH3XEOLFDWLRQV

0LFKDHO30F'RQDOG³5HIRUPLQJ5HGLVWULFWLQJ´LQ'HPRFUDF\LQWKH6WDWHV
  ([SHULPHQWVLQ(OHFWLRQV5HIRUP%UXFH&DLQ7RGG'RQRYDQDQG&DUROLQH7ROEHUWHGV
  :DVKLQJWRQ'&%URRNLQJV3UHVV

0LFKDHO30F'RQDOG³:KR V&RYHUHG"6HFWLRQ&RYHUDJH)RUPXODDQG%DLORXW´LQ7KH
  )XWXUHRIWKH9RWLQJ5LJKWV$FW'DYLG(SVWHLQ5LFKDUG+3LOGHV5RGROIR2GHOD*DU]D
  DQG6KDU\Q2 +DOORUDQHGV1HZ<RUN1<5XVVHOO6DJH3XEOLFDWLRQV

0LFDK$OWPDQ-HII*LOODQG0LFKDHO30F'RQDOG³$&RPSDULVRQRIWKH1XPHULFDO
  3URSHUWLHVRI(,0HWKRGV´LQ(FRORJLFDO,QIHUHQFH1HZ0HWKRGVDQG6WUDWHJLHV*DU\.LQJ
  2UL5RVHQDQG0DUWLQ7DQQHUHGV1HZ<RUN1<&DPEULGJH8QLYHUVLW\3UHVV

Contributing Book Editor

0LFKDHO30F'RQDOGGDWDHGLWRUIRU5LFK&RKHQHWDO7KH$OPDQDFRI$PHULFDQ
  3ROLWLFV1DWLRQDO-RXUQDO:DVKLQJWRQ'&




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Non-Peer-Reviewed Book Chapters

0LFKDHO30F'RQDOG³5HGLVWULFWLQJDQG'LIIHUHQWLDO3ULYDF\´,Q&HQVXV'DWD
  3URGXFWV'DWD1HHGVDQG3ULYDF\&RQVLGHUDWLRQV3URFHHGLQJVRID:RUNVKRS:DVKLQJWRQ
  '&7KH1DWLRQDO$FDGHPLHV3UHVVKWWSVGRLRUJ

0LFKDHO30F'RQDOG³&KDOOHQJHVDQG2SSRUWXQLWLHVLQ&ROOHFWLQJ(OHFWLRQ
  $GPLQLVWUDWLRQ'DWD´LQ7KH3DOJUDYH+DQGERRNRI6XUYH\5HVHDUFK'DYLG/9DQQHWWHDQG
  -RQ$.URVQLFNHGV1HZ<RUN1<3DOJUDYH0DF0LOODQ

0LFKDHO30F'RQDOG³+LVWRU\DQG3URPLVHDQG%OHQGLQJ6XUYH\'DWDZLWK*RYHUQPHQW
  5HFRUGVRQ7XUQRXW´LQ7KH3DOJUDYH+DQGERRNRI6XUYH\5HVHDUFK'DYLG/9DQQHWWHDQG
  -RQ$.URVQLFNHGV1HZ<RUN1<3DOJUDYH0DF0LOODQ

0LFDK$OWPDQDQG0LFKDHO30F'RQDOG³5HGLVWULFWLQJDQG3RODUL]DWLRQ´LQ$PHULFDQ
  *ULGORFN7KH6RXUFHV&KDUDFWHUDQG,PSDFWRI3ROLWLFDO3RODUL]DWLRQ-DPHV7KXUEHUDQG
  $QWRQLH<RVKLQDNDHGV&DPEULGJH

0LFDK$OWPDQDQG0LFKDHO30F'RQDOG)ORULGD&RQJUHVVLRQDO5HGLVWULFWLQJ-LJVDZ
  3ROLWLFVLQWKH6XQVKLQH6WDWH6HWK0F.HHHG*DLQHVYLOOH)/8QLYHUVLW\3UHVVRI)ORULGD

0LFKDHO30F'RQDOG6WDWH/HJLVODWLYH'LVWULFWLQJ*XLGHWR6WDWH3ROLWLFVDQG3ROLF\
  5LFKDUG1LHPLDQG-RVKXD'\FNHGV:DVKLQJWRQ'&&43UHVV

0LFKDHO30F'RQDOG³'HPRFUDF\LQ$PHULFDQ(OHFWLRQV´LQ,PSHUIHFW'HPRFUDFLHV
  7KH'HPRFUDF\'HILFLWLQ&DQDGDDQGWKH8QLWHG6WDWHV5LFKDUG6LPHRQDQG3DWWL/HQDUG
  HGV9DQFRXYHU%&8QLYHUVLW\RI%ULWLVK&ROXPELD3UHVV

0LFDK$OWPDQDQG0LFKDHO30F'RQDOG³7HFKQRORJ\IRU3XEOLF3DUWLFLSDWLRQLQ
  5HGLVWULFWLQJ´LQ5HGLVWULFWLQJLQWKH:HVW*DU\0RQFULHIHG/DQKDP0'/H[LQJWRQ3UHVV

0LFKDHO30F'RQDOGDQG7KRPDV6FKDOOHU³9RWHU0RELOL]DWLRQLQWKH3UHVLGHQWLDO
  (OHFWLRQ´LQ7KH&KDQJH(OHFWLRQ0RQH\0RELOL]DWLRQDQG3HUVXDVLRQLQWKH)HGHUDO
  (OHFWLRQV'DYLG0DJOHE\HG3KLODGHOSKLD3$7HPSOH8QLYHUVLW\3UHVV SUHYLRXVO\
  SXEOLVKHGDVD3HZ&KDULWDEOH7UXVWVPRQRJUDSK 

0LFKDHO30F'RQDOG³&RQJUHVVLRQDO5HGLVWULFWLQJ´LQ2[IRUG+DQGERRNRI&RQJUHVV
  )UDQFHV/HHDQG(ULF6FKLFNOHUHGV&DPEULGJH8.2[IRUG8QLYHUVLW\3UHVV

0LFKDHO30F'RQDOG³9RWHU7XUQRXW(OLJLELOLW\+DV,WV%HQHILWV´LQ&RQWURYHUVLHVLQ
  9RWLQJ%HKDYLRUQG(GLWLRQ5LFKDUG*1LHPL+HUEHUW):HLVEHUJDQG'DYLG.LPEDOO
  HGV:DVKLQJWRQ'&&43UHVV

0LFKDHO30F'RQDOG³,Q6XSSRUWRI1RQ3DUWLVDQ5HGLVWULFWLQJ´LQ'HEDWLQJ5HIRUP
  &RQIOLFWLQJ3HUVSHFWLYHVRQ+RZWR0HQG$PHULFDQ*RYHUQPHQWDQG3ROLWLFV5LFKDUG(OOLV
  DQG0LNH1HOVRQHGV:DVKLQJWRQ'&&RQJUHVVLRQDO4XDUWHUO\3UHVV


                                                

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0LFKDHO30F'RQDOG³$PHULFDQ9RWHU7XUQRXWLQ+LVWRULFDO3HUVSHFWLYH´LQ2[IRUG
  +DQGERRNRI$PHULFDQ(OHFWLRQVDQG3ROLWLFDO%HKDYLRU-DQ/HLJKOH\HG&DPEULGJH8.
  2[IRUG8QLYHUVLW\3UHVV

0LFKDHO30F'RQDOG³0HFKDQLFDO(IIHFWVRI'XYHUJHU¶V/DZLQWKH86$´LQ
  'XYHUJHU¶V/DZRI3OXUDOLW\9RWLQJ7KH/RJLFRI3DUW\&RPSHWLWLRQLQ&DQDGD,QGLDWKH
  8QLWHG.LQJGRPDQGWKH8QLWHG6WDWHV%HUQDUG*URIPDQ$QGUp%ODLVDQG6KDXQ%RZOHU
  HGV1HZ<RUN1<6SULQJHU

0LFKDHO30F'RQDOG8QLWHG6WDWHV5HGLVWULFWLQJ$&RPSDUDWLYH/RRNDWWKH
  6WDWHVLQ5HGLVWULFWLQJLQ&RPSDUDWLYH3HUVSHFWLYH/LVD+DQGOH\DQG%HUQDUG*URIPDQ
  HGV2[IRUG8.2[IRUG8QLYHUVLW\3UHVV

0LFKDHO30F'RQDOGDQG0DWWKHZ7KRUQEXUJ³6WDWHDQG/RFDO5HGLVWULFWLQJ´LQ
  3ROLWLFDO(QF\FORSHGLDRI866WDWHVDQG5HJLRQV'RQDOG+DLGHU0DUNHOHG1HZ<RUN
  1<0703XEOLVKLQJ

0LFKDHO30F'RQDOG³5HGLVWULFWLQJDQG'LVWULFW&RPSHWLWLRQ´LQ7KH0DUNHWSODFHRI
  'HPRFUDF\0LFKDHO30F'RQDOGDQG-RKQ6DPSOHVHGV:DVKLQJWRQ'&%URRNLQJV
  3UHVV

0LFDK$OWPDQ.DULQ0DF'RQDOGDQG0LFKDHO30F'RQDOG³3XVKEXWWRQ
  *HUU\PDQGHUV"+RZ&RPSXWLQJ+DV&KDQJHG5HGLVWULFWLQJ´LQ3DUW\/LQHV&RPSHWLWLRQ
  3DUWLVDQVKLSDQG&RQJUHVVLRQDO5HGLVWULFWLQJ%UXFH&DLQDQG7KRPDV0DQQ
  HGV:DVKLQJWRQ'&%URRNLQJV3UHVV

%UXFH&DLQ.DULQ0DF'RQDOGDQG0LFKDHO30F'RQDOG³)URP(TXDOLW\WR)DLUQHVV
  7KH3DWKRI3ROLWLFDO5HIRUP6LQFH%DNHUY&DUU´LQ3DUW\/LQHV&RPSHWLWLRQ3DUWLVDQVKLS
  DQG&RQJUHVVLRQDO5HGLVWULFWLQJ%UXFH&DLQDQG7KRPDV0DQQHGV:DVKLQJWRQ'&
  %URRNLQJV3UHVV

0LFKDHO30F'RQDOG³9DOLGLW\'DWD6RXUFHV´LQ(QF\FORSHGLDRI6RFLDO0HDVXUHPHQW
  9RO.LPEHUO\.HPSI/HRQDUGHG6DQ'HLJR&$(OVHYLHU,QF

0LFKDHO30F'RQDOG³5HSRUWLQJ%LDV´LQ3ROOLQJLQ$PHULFD$Q(QF\FORSHGLDRI3XEOLF
  2SLQLRQ%HQMDPLQ5DGFOLIIDQG6DPXHO%HVWHGV:HVWSRUW&7*UHHQZRRG3UHVV

Other Non-Peer Reviewed Academic Publications (Book Reviews, Invited Articles, etc.)

0LFKDHO30F'RQDOGDQG7KHVVDOLD0HULYDNL³9RWHU3DUWLFLSDWLRQLQ3UHVLGHQWLDO
  1RPLQDWLRQ&RQWHVWV´7KH)RUXP  

0LFKDHO30F'RQDOG³5HGLVWULFWLQJ'HYHORSPHQWVRIWKH/DVW'HFDGH²DQG:KDW VRQ
  WKH7DEOHLQ7KLV2QH´(OHFWLRQ/DZ-RXUQDO  

0LFKDHO30F'RQDOGDQG&KULVRSKHU=0RRQH\³µ3UDFDGHPLFV¶0L[LQJDQ$FDGHPLF
  &DUHHUZLWK3UDFWLFDO3ROLWLFV´363ROLWLFDO6FLHQFHDQG3ROLWLFV  

                                              

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0LFKDHO30F'RQDOG³9RWHU7XUQRXWLQWKH0LGWHUP(OHFWLRQ´7KH)RUXP  

0LFKDHO30F'RQDOG³5HGLVWULFWLQJ7KH0RVW3ROLWLFDO$FWLYLW\LQ$PHULFDE\&KDUOHV
  6%XOORFN,,, ERRNUHYLHZ ´$PHULFDQ5HYLHZRI3ROLWLFV )DOO6SULQJ 

0LFKDHO30F'RQDOG³ $0DJQLILFHQW&DWDVWURSKH 5HWROGE\(GZDUG/DUVRQ ERRN
  UHYLHZ ´7KH(OHFWLRQ/DZ-RXUQDO  

0LFKDHO30F'RQDOG³7KH5HWXUQRIWKH9RWHU9RWHU7XUQRXWLQWKH3UHVLGHQWLDO
  (OHFWLRQ´7KH)RUXP  

0LFKDHO30F'RQDOG³$PHULFDQ9RWHU7XUQRXW$Q,QVWLWXWLRQDO3HUVSHFWLYHE\'DYLG
  +LOO ERRNUHYLHZ ´3ROLWLFDO6FLHQFH4XDUWHUO\  

0LFKDHO30F'RQDOG5RFNLQJWKH+RXVH&RPSHWLWLRQDQG7XUQRXWLQWKH
  0LGWHUP(OHFWLRQ7KH)RUXP  

0LFDK$OWPDQDQG0LFKDHO30F'RQDOG+RZWR6HWD5DQGRP&ORFN 5HPDUNVRQ
  (DUQHVW 363ROLWLFDO6FLHQFHDQG3ROLWLFV  

0LFKDHO30F'RQDOG8S8SDQG$ZD\7XUQRXWLQWKH3UHVLGHQWLDO
  (OHFWLRQ7KH)RUXP  

0LFKDHO30F'RQDOG'UDZLQJWKH/LQHRQWKH&RQJUHVVLRQDO
  (OHFWLRQV/HJLVODWLYH6WXGLHV6HFWLRQ1HZVOHWWHU )DOO 

0LFKDHO30F'RQDOG$5HGLVWULFWLQJ2G\VVH\6WDWH3ROLWLFVDQG3ROLF\
  4XDUWHUO\  

0LFDK$OWPDQDQG0LFKDHO30F'RQDOG5HVRXUFHVIRU7HVWLQJDQG(QKDQFHPHQWRI
  6WDWLVWLFDO6RIWZDUHLQ7KH3ROLWLFDO0HWKRGRORJLVW  

0LFKDHO30F'RQDOG5HSUHVHQWDWLRQDO7KHRULHVRIWKH3RODUL]DWLRQRIWKH+RXVHRI
  5HSUHVHQWDWLYHVLQ/HJLVODWLYH6WXGLHV6HFWLRQ1HZVOHWWHU([WHQVLRQRI5HPDUNV  

0LFKDHO30F'RQDOG&DOLIRUQLD5HFDOO9RWLQJ1XJJHWVRI&DOLIRUQLD*ROGIRU3ROLWLFDO
  %HKDYLRU7KH)RUXP  

Reports

0LFKDHO30F'RQDOG9RWHU3UHUHJLVWUDWLRQ3URJUDPV)DLUID[9$*HRUJH0DVRQ
  8QLYHUVLW\

0LFKDHO30F'RQDOG0LGZHVW0DSSLQJ3URMHFW)DLUID[9$*HRUJH0DVRQ8QLYHUVLW\

0LFKDHO30F'RQDOGDQG0DWWKHZ7KRUQEXUJ7KH9LUJLQLD(OHFWLRQ
  $GPLQLVWUDWLRQ6XUYH\)DLUID[9$*HRUJH0DVRQ8QLYHUVLW\


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.LPEDOO%UDFHDQG0LFKDHO30F'RQDOG5HSRUWWRWKH(OHFWLRQ$VVLVWDQFH&RPPLVVLRQ
  RQWKH(OHFWLRQ'D\6XUYH\6HSW

Opinion Editorials

6KDURQ$XVWLQ0LFKDHO0F'RQDOGDQG'DQLHO6PLWK³:HZRUNIRUWKHSHRSOHRI)ORULGD
  7KDW¶VZK\ZHFDQ¶WOHWWKH8QLYHUVLW\RI)ORULGDVLOHQFHXVRQDYRWLQJULJKWVODZ´7KH
  :DVKLQJWRQ3RVW1RY

0LFKDHO30F'RQDOG³7UXPSDQGSRODUL]DWLRQGURYHUHFRUGWXUQRXW6RGLGPDLOYRWLQJ
  ZKLFKVKRXOGEHXQLYHUVDO´86$7RGD\2QOLQH1RY3ULQW1RYS$

0LFKDHO30F'RQDOG³5HFRUGVHWWLQJHDUO\YRWHVKHOSHG'HPRFUDWVSLQSRLQWRWKHUV
  OLNHO\WRVXSSRUW%LGHQ´:DVKLQJWRQ3RVW1RY

0LFKDHO30F'RQDOG³7UXPS:LOO'ULYH([WUDRUGLQDU\9RWHU7XUQRXWLQ²,I6WDWHV
  &DQ*HW,W7RJHWKHU´1HZVZHHN0D\

0LFKDHO30F'RQDOG³/HW\HDUROGVYRWHIRU/$VFKRROERDUG´/RV$QJHOHV7LPHV
  0D\

0LFKDHO30F'RQDOG³,DJUHHZLWK'RQDOG7UXPSZHVKRXOGKDYHYRWHU,'+HUH VKRZ
  DQGZK\´86$7RGD\-DQ

0LFKDHO30F'RQDOG³7KH5XVVLDQVDUHKDFNLQJ/XFNLO\WKH7UXPSYRWHUIUDXG
  FRPPLVVLRQLVQ WLQFKDUJH´86$7RGD\6HSW

0LFKDHO30F'RQDOG³%HWWHU+RSHWKH(OHFWLRQLV1RW&ORVH´86$7RGD\1RY

0LFKDHO30F'RQDOG³%ODPH*RYHUQPHQWIRU9RWLQJ&ULVLV´86$7RGD\0DUFK
  

0LFKDHO30F'RQDOG3HWHU/LFDULDQG/LD0HULYDNL7KH%LJ&RVWRI8VLQJ%LJ'DWDLQ
  (OHFWLRQV7KH:DVKLQJWRQ3RVW2FW

0LFKDHO30F'RQDOG7UXWKVDQG8QFHUWDLQWLHVWKDW6XUURXQGWKH0LGWHUPV7KH
  +LOO1RYHPEHU

0LFKDHO30F'RQDOG³7KH6KDSHRI7KLQJVWR&RPH1HZ6RIWZDUH0D\+HOSWKH
  3XEOLF+DYHD&UXFLDO5HGUDZLQJRI9RWLQJ'LVWULFWV´6RMRXQHUV$SULO

0LFDK$OWPDQDQG0LFKDHO30F'RQDOG&RPSXWHUV5HGLVWULFWLQJ6XSHU+HURRU(YLO
  0DVWHUPLQG"&DPSDLJQVDQG(OHFWLRQV0DJD]LQH-DQXDU\

0LFKDHO30F'RQDOG:KR9RWHGLQDQG:K\,W0DWWHUVIRU$2/1HZV
  1RY



                                                

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0LFKDHO30F'RQDOGDQG6HWK0F.HH7KH5HYHQJHRIWKH0RGHUDWHV7KH3ROLWLFR2FW
  

0LFKDHO30F'RQDOGDQG0LFDK$OWPDQ3XOOLQJ%DFNWKH&XUWDLQRQ5HGLVWULFWLQJ
  7KH:DVKLQJWRQ3RVW-XO\

0LFKDHO30F'RQDOG7KLV0D\%HWKH(OHFWLRQRIWKH&HQWXU\7KH3ROLWLFR6HSW
  

0LFKDHO30F'RQDOG6XSHU7XHVGD\7XUQHGLQWRD6XSHU)ORS5ROO&DOO)HE
  

0LFKDHO30F'RQDOG0\WKV$ERXW7XUQLQJ2XWWKH9RWH7KH:DVKLQJWRQ
  3RVW2FWS%

0LFKDHO30F'RQDOG6XSUHPH&RXUW/HWVWKH3ROLWLFLDQV5XQ:LOG5ROO&DOO-XQH
  

0LFKDHO30F'RQDOG5H5HGLVWULFWLQJ5HGX[7KH$PHULFDQ3URVSHFW0DUFK

0LFKDHO30F'RQDOGDQG.LPEDOO%UDFH($&6XUYH\6KHGV/LJKWRQ(OHFWLRQ
  $GPLQLVWUDWLRQ5ROO&DOO2FW

0LFKDHO30F'RQDOG³7KH1XPEHUV3URYHWKDW0D\6LJQDO0RUH9RWHU
  ,QWHUHVW´0LOZDXNHH-RXUQDO6HQWLQHO0LOZDXNHH:,

0LFKDHO30F'RQDOG'HPRFUDF\LQ$PHULFD"/D9DQJXDUGLD%DUFHORQD6SDLQ

0LFKDHO30F'RQDOG(QKDQFLQJ'HPRFUDF\LQ9LUJLQLD&RQQHFWLRQ1HZVSDSHUV
  0DUFK

0LFKDHO30F'RQDOG3LHFLQJ7RJHWKHUWKH,OOLQRLV5HGLVWULFWLQJ3X]]OH,OOLQRLV
  ,VVXHV0DUFK

6DPXHO3RSNLQDQG0LFKDHO30F'RQDOG7XUQRXW V1RWDV%DGDV<RX7KLQN7KH
  :DVKLQJWRQ3RVW1RY%

6DPXHO3RSNLQDQG0LFKDHO30F'RQDOG:KR9RWHV"$&RPSDULVRQRI1(6&36DQG
  9163ROOV'HPRFUDWLF/HDGHUVKLS&RXQFLO%OXHERRN6HSW

Data and Software Packages

%ULDQ$PRV6WHYH*HURQWDNLVDQG0LFKDHO30F'RQDOG3UHFLQFWERXQGDULHVDQGHOHFWLRQ
   UHVXOWV$YDLODEOHDWKWWSVGDWDYHUVHKDUYDUGHGXGDWDYHUVHHOHFWLRQVFLHQFH




                                               

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0LFDK$OWPDQ0LFKDHO30F'RQDOGDQG$]DYHD³'LVWULFW%XLOGHU´2SHQVRXUFH
  VRIWZDUHWRHQDEOHSXEOLFSDUWLFLSDWLRQLQUHGLVWULFWLQJ6RXUFHFRGHDYDLODEOHDW*LWKXE
  3URMHFWZHEVLWHKWWSZZZGLVWULFWEXLOGHURUJ

0LFDK$OWPDQDQG0LFKDHO30F'RQDOG%$5'%HWWHU$XWRPDWHG5HGLVWULFWLQJ5
  SDFNDJHDYDLODEOHWKURXJK&5$16RXUFHFRGHDYDLODEOHDW6RXUFHIRUJH

0LFDK$OWPDQ-HII*LOODQG0LFKDHO30F'RQDOG$FFXUDF\7RROVIRUWHVWLQJDQG
  LPSURYLQJDFFXUDF\RIVWDWLVWLFDOUHVXOWV5SDFNDJHDYDLODEOHWKURXJK&5$1

*UDQWVDQG&RQWUDFWV
/RFDO(OHFWLRQ'DWD&ROOHFWLRQ  +RXVWRQ(QGRZPHQW7KUHH\HDUUHQHZDORI
  +RXVWRQ(QGRZPHQWJUDQWWRFROOHFWORFDOHOHFWLRQGDWD

'RZ-RQHV&RUSRUDWLRQ  3URYLGHGHOHFWLRQGDWDIRUDQDO\VLVE\WKH:DOO6WUHHW
  -RXUQDO

/RFDO(OHFWLRQ'DWD&ROOHFWLRQ3LORW6WXG\  +RXVWRQ(QGRZPHQW([SORUHGWKH
  IHDVLELOLW\RIFROOHFWLQJORFDOHOHFWLRQGDWDWRFRPSDUH+RXVWRQ06$WXUQRXWWRRWKHU06$V

&ROXPELD%RRNV  3URGXFHGGDWDDQGPDSVIRULQFOXVLRQLQWKH$OPDQDFRI
  $PHULFDQ3ROLWLFV

*DLQHVYLOOH&LW\&RPPLVVLRQ  +HOGSXEOLFKHDULQJVDQGDVVLVWHGFLW\LQ
  GUDZLQJFLW\FRPPLVVLRQGLVWULFWV

)ORULGD/HDJXHRI:RPHQ9RWHUV  3URGXFHGUHSRUWRQSRWHQWLDO
   FRQVWLWXWLRQDOLQILUPLWLHVRIDGRSWHGVWDWHOHJLVODWLYHGLVWULFWV

5HMHFWHG0DLO%DOORWV  $QGUHZ*RRGPDQ)RXQGDWLRQ$QDO\VLVRIUHMHFWHGPDLOEDOORWV
  ZLWKLQVHOHFWHGVWDWHVGXULQJWKHJHQHUDOHOHFWLRQ

(OHFWLRQ'DWD$GPLQLVWUDWLYH'DWD5HVHDUFK)DFLOLW\  $OIUHG36ORDQ)RXQGDWLRQ
   JUDQWWRFROOHFWSUHFLQFWHOHFWLRQUHVXOWVDQGERXQGDU\GDWDDQGWRXSJUDGH'LVWULFW%XLOGHU
   VRIWZDUH

9LUJLQLD(OHFWLRQ'DWD  3URGXFHGHOHFWLRQGDWDIRU7KH:DVKLQJWRQ3RVW¶V
   9LUJLQLDVWDWHHOHFWLRQVFRYHUDJH

$XGLWRI$VVLJQPHQWRI9LUJLQLD5HJLVWHUHG9RWHUVWR'LVWULFWV  :RUNIRUWKH
  9LUJLQLD'HSDUWPHQWRI(OHFWLRQVWRDXGLWWKHDVVLJQPHQWRIUHJLVWHUHGYRWHUVWRGLVWULFWV

1DWLRQDO9RWHU)LOH  $OIUHG36ORDQ)RXQGDWLRQJUDQWWRSLORWWKHFROOHFWLRQRID
  QDWLRQDOYRWHUILOHIRUDFDGHPLFDQGQRQSDUWLVDQSXUSRVHV



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3LORW6WXG\IRU(OHFWLRQ'DWD$GPLQLVWUDWLYH'DWD5HVHDUFK)DFLOLW\  $OIUHG36ORDQ
   )RXQGDWLRQJUDQWWRFROOHFWSUHFLQFWHOHFWLRQUHVXOWVDQGERXQGDU\GDWDDQGWRXSJUDGH
   'LVWULFW%XLOGHUVRIWZDUH

,PSURYLQJ,QWHJULW\RI9RWHU)LOH$GGUHVVHV  &RORUDGR6HFUHWDU\RI6WDWHVXSSRUWWR
  GHYHORSPHWKRGVWRLPSURYHYRWHUILOHDGGUHVVHV

)DEULFDWLQJ3UHFLQFW%RXQGDULHV  0,7(OHFWLRQ6FLHQFHDQG'DWD/DEVXSSRUWWR
  H[SORUHIDEULFDWLQJSUHFLQFWERXQGDULHVIURPJHRFRGHGYRWHUILOHV

8),QIRUPDWLFV3RVW'RF7RS2II$ZDUG  )XQGLQJIURPWKH8),QIRUPDWLFV
  ,QVWLWXWHWRSURYLGHDGGLWLRQDOSRVWGRFIXQGLQJLQVXSSRUWRI+HZOHWW)RXQGDWLRQJUDQW

86(OHFWLRQ3URMHFW  +HZOHWW)RXQGDWLRQVXSSRUWIRU86(OHFWLRQ3URMHFW
  $FWLYLWLHV

8),QIRUPDWLFV,QVWLWXWH6HHG)XQG$ZDUG  3URMHFWIXQGHGE\WKH8)
  ,QIRUPDWLFV,QVWLWXWHWRH[SORUHWKHUHOLDELOLW\RI)ORULGD¶VYRWHUUHJLVWUDWLRQILOH

(OHFWLRQ)RUXP  3URMHFWIXQGHGE\WKH3HZ&KDULWDEOH7UXVWVIRUDQHOHFWLRQ
   IRUXPKHOGDWWKH8QLYHUVLW\RI)ORULGD

6XUYH\RI9RWHU)LOH$FFHVVLELOLW\  &RQWUDFWIURPWKH,QVWLWXWHIRU0RQH\LQ
  6WDWH3ROLWLFVWRVXUYH\FRVWVDQGDFFHVVLELOLW\RIVWDWHV¶YRWHUILOHV

)ORULGD(OHFWLRQ5HIRUP  3URMHFWIXQGHGE\'HPRFUDF\)XQGIRUDQHOHFWLRQ
   UHIRUPIRUXPKHOGLQ7DOODKDVVHH)/3HZ&KDULWDEOH7UXVWVLQGHSHQGHQWO\SURYLGHGWUDYHO
   VXSSRUWIRUVRPHVSHDNHUV

1HZ<RUN5HGLVWULFWLQJ  3URMHFWIXQGHGE\WKH6ORDQ)RXQGDWLRQWRSURYLGH
  IRUSXEOLFUHGLVWULFWLQJLQ1HZ<RUNDQGFRQWLQXHGVRIWZDUHGHYHORSPHQW

&LWL]HQ5HGLVWULFWLQJ(GXFDWLRQ6RIWZDUH6XSSOHPHQWDO  3URMHFWIXQGHGE\
   -R\FH)RXQGDWLRQWRSURYLGHFRQWLQXHGUHGLVWULFWLQJVRIWZDUHGHYHORSPHQWIRUXVHE\
   DGYRFDF\JURXSVLQVL[0LGZHVWHUQVWDWHV

1DWLRQDO5HGLVWULFWLQJ5HIRUP&RRUGLQDWLRQ  :LWK7KRPDV0DQQDQG
  1RUPDQ2UQVWHLQ3URMHFWIXQGHGE\-R\FH)RXQGDWLRQWRVXSSRUWFRRUGLQDWLRQRIQDWLRQDO
  UHGLVWULFWLQJUHIRUPHIIRUWVE\WKH%URRNLQJV,QVWLWXWLRQDQGWKH$PHULFDQ(QWHUSULVH,QVWLWXWH

&LWL]HQ0DSSLQJ3URMHFW   :LWK0LFDK$OWPDQ7KRPDV0DQQ
   DQG1RUPDQ2UQVWHLQ3URMHFWIXQGHGE\WKH$OIUHG36ORDQ)RXQGDWLRQ$QDZDUGWR*HRUJH
   0DVRQ8QLYHUVLW\HQDEOHVGHYHORSPHQWRIVRIWZDUHWKDWHVVHQWLDOO\SHUPLWVRQOLQH
   UHGLVWULFWLQJWKURXJKFRPPRQO\XVHGLQWHUQHWPDSSLQJSURJUDPV$VHFRQGDZDUGWRWKH
   %URRNLQJV,QVWLWXWLRQDQG$PHULFDQ(QWHUSULVH,QVWLWXWHSURYLGHVRUJDQL]DWLRQDOVXSSRUW
   LQFOXGLQJWKHFRQYHQLQJRIDQDGYLVRU\ERDUG


                                                


&LWL]HQ5HGLVWULFWLQJ(GXFDWLRQ  3URMHFWIXQGHGE\WKH-R\FH)RXQGDWLRQ
   3URYLGHVIRUUHGLVWULFWLQJHGXFDWLRQIRUXPVLQILYH0LGZHVWHUQVWDWHFDSLWDOVLQDQGRWKHU
   FRQWLQXLQJHGXFDWLRQHIIRUWV

3UH5HJLVWUDWLRQ3URJUDPV  3URMHFWIXQGHGE\WKH3HZ&KDULWDEOH7UXVWV 
   0DNH9RWLQJ:RUN,QLWLDWLYHWRH[DPLQHSUHUHJLVWUDWLRQSURJUDPV YRWHUUHJLVWUDWLRQIRU
   SHUVRQVXQGHUDJH LQ)ORULGDDQG+DZDLL

6RXQG5HGLVWULFWLQJ5HIRUP  3URMHFWIXQGHGE\WKH-R\FH)RXQGDWLRQ
  FRQGXFWHGMRLQWO\ZLWKWKH%UHQQDQ&HQWHUIRU-XVWLFHDW1<8WRLQYHVWLJDWHLPSDFWVRI
  UHGLVWULFWLQJUHIRUPLQ0LGZHVWHUQVWDWHV

(OHFWRUDO&RPSHWLWLRQ3URMHFW  3URMHFWIXQGHGE\7KH$UPVWURQJ
   )RXQGDWLRQWKH&DUQHJLH&RUSRUDWLRQRI1HZ<RUNWKH-(+7)RXQGDWLRQ7KH-R\FH
   )RXQGDWLRQ7KH.HUU)RXQGDWLRQ,QFDQGDQRQ\PRXVGRQRUV-RLQWO\FRQGXFWHGE\WKH
   %URRNLQJV,QVWLWXWLRQDQG&DWR,QVWLWXWHWRLQYHVWLJDWHWKHVWDWHRIHOHFWRUDOFRPSHWLWLRQLQWKH
   8QLWHG6WDWHV

*HRUJH0DVRQ8QLYHUVLW\3URYRVW6XPPHU5HVHDUFK*UDQW  

,&365'DWD'RFXPHQW,QLWLDWLYH$ZDUGHGEHWDWHVWJUDQW0HPEHUDGYLVRU\FRPPLWWHH
  RQFUHDWLRQRIHOHFWURQLFFRGHERRNVWDQGDUGV

$FDGHPLF([SHULHQFH
&RXUVHV7DXJKW(OHFWLRQ'DWD6FLHQFH JUDGXDWHDQGXQGHUJUDGXDWH (OHFWLRQ/DZDQG9RWLQJ
  5LJKWV3XEOLF2SLQLRQDQG9RWLQJ%HKDYLRU3DUWLHVDQG&DPSDLJQV JUDGXDWHDQG
  XQGHUJUDGXDWH &RPSDUDWLYH(OHFWRUDO,QVWLWXWLRQV,QWURGXFWLRQWR$PHULFDQ3ROLWLFV
  $PHULFDQ3ROLWLFV*UDGXDWH)LHOG6HPLQDU&RQJUHVV/HJLVODWLYH3ROLWLFV5HVHDUFK0HWKRGV
   XQGHUJUDGXDWH $GYDQFHG5HVHDUFK0HWKRGV JUDGXDWH )UHVKPDQ6HPLQDU7RSLFVLQ5DFH
  DQG*HQGHU3ROLFLHVDQG/HJLVODWLYH6WDII,QWHUQVKLS3URJUDP

8QLYHUVLW\RI)ORULGD

    x   3URIHVVRU-XQH±3UHVHQW
    x   $VVRFLDWH3URIHVVRU$XJXVW±-XQH

*HRUJH0DVRQ8QLYHUVLW\

    x   $VVRFLDWH3URIHVVRU0D\±0D\
    x   $VVLVWDQW3URIHVVRU$XJ±0D\

7KH%URRNLQJV,QVWLWXWLRQ

    x   1RQ5HVLGHQW6HQLRU)HOORZ-DQXDU\±-XQH


                                                 


    x   9LVLWLQJ)HOORZ-XQH±'HFHPEHU

8QLYHUVLW\RI,OOLQRLV6SULQJILHOG$VVLVWDQW3URIHVVRU$XJ±-XQH
  -RLQWDSSRLQWPHQWLQ3ROLWLFDO6WXGLHV'HSDUWPHQWDQG/HJLVODWLYH6WXGLHV&HQWHU

9DQGHUELOW8QLYHUVLW\$VVLVWDQW3URIHVVRU$XJ±$XJ

+DUYDUG0,7'DWD&HQWHU3RVW'RFWRUDO5HVHDUFK)HOORZ6HSW±$XJ
  'HYHORSHG9LUWXDO'DWD&HQWHUDZHEEDVHGGDWDVKDULQJV\VWHPIRUDFDGHPLFV0DLQWDLQHG
  5HFRUGRI$PHULFDQ'HPRFUDF\ 86SUHFLQFWOHYHOHOHFWLRQGDWD 

8QLYHUVLW\RI&DOLIRUQLD6DQ'LHJR

    x   $VVLVWDQWWRWKH'LUHFWRUIRU8QLYHUVLW\RI&DOLIRUQLD:DVKLQJWRQ'&SURJUDP6HSW
        ±-XQH
    x   ,QVWUXFWRUIRUUHVHDUFKPHWKRGVVHPLQDUIRU8&6':DVKLQJWRQLQWHUQV
    x   9LVLWLQJ$VVLVWDQW3URIHVVRU6SULQJ4XDUWHU
    x   9LVLWLQJ$VVLVWDQW3URIHVVRU6XPPHU6HVVLRQ$XJDQG$XJ
    x   7HDFKLQJ$VVLVWDQW*UDGHU$XJ±0DUFK

3URIHVVLRQDO6HUYLFH
    x   1DWLRQDO$FDGHP\RI6FLHQFHV0HPEHU3URJUDP&RPPLWWHHIRU³:RUNVKRSRQ
        &HQVXV'DWD3URGXFWV'DWD1HHGVDQG3ULYDF\&RQVLGHUDWLRQV´
    x   (OHFWLRQ6FLHQFH5HIRUPDQG$GPLQLVWUDWLRQ&RQIHUHQFH/HDGFRQIHUHQFH
        RUJDQL]HU
    x   1RQ3URILW9RWHU(QJDJHPHQW1HWZRUN0HPEHU$GYLVRU\%RDUG±SUHVHQW
    x   1DWLRQDO6WDWHV*HRJUDSKLF,QIRUPDWLRQ&RXQFLO*HR(QDEOHG(OHFWLRQV0HPEHU
        &LUFOHRI$GYLVRUV±
    x   (OHFWLRQ6FLHQFHV&RQIHUHQFHLQDFRQIHUHQFHDWWKH6RXWKHUQ3ROLWLFDO6FLHQFH
        $VVRFLDWLRQ&RQIHUHQFH2UJDQL]HU
    x   2YHUVHDV9RWH)RXQGDWLRQ0HPEHU$GYLVRU\%RDUG±
    x   1DWLRQDO&DSLWDO$UHD3ROLWLFDO6FLHQFH$VVRFLDWLRQ0HPEHU&RXQFLO±
    x   6WDWH3ROLWLFVDQG3ROLF\4XDUWHUO\(GLWRULDO%RDUG0HPEHU
    x   9LUJLQLD3XEOLF$FFHVV3URMHFW0HPEHU%RDUGRI'LUHFWRUV±
    x   )DLUID[&RXQW\6FKRRO%RDUG$GXOWDQG&RPPXQLW\(GXFDWLRQ$GYLVRU\&RPPLWWHH
        0HPEHU±
    x   6WDWH3ROLWLFVDQG3ROLF\4XDUWHUO\*XHVW(GLWRU'HFLVVXH

5HODWHG3URIHVVLRQDO([SHULHQFH
0HGLD&RQVXOWDQW



                                               

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    x   (GLVRQ0HGLD5HVHDUFK0LWRIVN\,QWHUQDWLRQDO1RY1RY1RY1RY
        1RY)HE1RY:RUNHGQDWLRQDOH[LWSROOLQJRUJDQL]DWLRQ V
        'HFLVLRQ'HVN
    x   $VVRFLDWHG3UHVV1RYDQG1RY:RUNHG'HFLVLRQ'HVN
    x   $%&1HZV1RY:RUNHG'HFLVLRQ'HVN
    x   1%&1HZV$XJ$QDO\]HGSROOVGXULQJWKH5HSXEOLFDQ1DWLRQDO&RQYHQWLRQ
        

5HGLVWULFWLQJ(OHFWLRQV&RQVXOWDQW

    x   *HRUJLD&RDOLWLRQIRUWKH3HRSOHV¶$JHQGD,QFHWDOY%UDG5DIIHQVSHUJHU)
        6XSSG 1'*D &LYLO$FWLRQ1RFY(/5'NW1R
         1'*D$SU 
    x   0L)DPLOLD9RWDDQG9RWR/DWLQRY+REEVHWDO$QG&RQVROLGDWHG&DVHV&DVH1R
        FY65% /HDG&DVH  '$UL] 
    x   2XU&LW\$FWLRQ%XIIDOR,QFHWDOY&RPPRQ&RXQFLORIWKH&LW\RI%XIIDORHWDO
        ,QGH[1R
    x   ,QGHSHQGHQW0DS'UDZHU2KLR5HGLVWULFWLQJ&RPPLVVLRQ'UHZ2KLRVWDWH
        OHJLVODWLYHGLVWULFWVIRU2KLR5HGLVWULFWLQJ&RPPLVVLRQDVRUGHUHGE\2KLR6XSUHPH
        &RXUW
    x   ([SHUW:LWQHVV)ORULGD5LVLQJY/HH&DVH1RFY0:0-)
         1')/ 
    x   &RQVXOWDQW1HZ-HUVH\&RQJUHVVLRQDO5HGLVWULFWLQJ&RPPLVVLRQ
    x   ([SHUW:LWQHVV*HRUJLD&RDOLWLRQIRUWKH3HRSOHV¶$JHQGD,QFHWDOY
        .HPS1RFY(/5 1'*D 
    x   ([SHUW:LWQHVV/HDJXHRI:RPHQ9RWHUVRI6RXWK&DUROLQDY0DUFL$QGLQR&DVH1R
        FY-0& 6RXWK&DUROLQD 
    x   ([SHUW:LWQHVV*HRUJLD$VVRFLDWLRQRI/DWLQR(OHFWHG2IILFLDOVY*ZLQQHWW
        &RXQW\%RDUGRI5HJLVWUDWLRQDQG(OHFWLRQV1RFY:05 1'*D 
    x   ([SHUW:LWQHVV)DLU)LJKW$FWLRQ,QFHWDOY%UDG5DIIHQVSHUJHU1R&9
        6&- 1'*D 
    x   &RQVXOWDQW9LUJLQLD'LYLVLRQRI(OHFWLRQV$XGLWHGWKHDVVLJQPHQWRIUHJLVWHUHG
        YRWHUVWRGLVWULFWV
    x   ([SHUW:LWQHVV0DUWLQY.HPS&LYLO$FWLRQ1RFY/00
    x   ([SHUW:LWQHVV*HRUJLD&RDOLWLRQIRUWKH3HRSOHV¶$JHQGD,QFY.HPS&LYLO
        $FWLRQ1RFY(/5
    x   ([SHUW:LWQHVV&RPPRQ&DXVH,QGLDQDY/DZVRQ&DVH1RFY7:3
        03% ,QGLDQD 
    x   ([SHUW:LWQHVV%HQLVHNY/DPRQH&DVH1RFY 0DU\ODQG 
    x   ([SHUW:LWQHVV9HVLOLQGY9LUJLQLD6WDWH%RDUGRI(OHFWLRQV&DVH1R
        &/ 9LUJLQLD 
    x   ([SHUW:LWQHVV)LVKY.REDFK&DVH1RFY .DQVDV 
    x   ([SHUW:LWQHVV$UL]RQD/LEHUWDULDQ3DUW\Y5HDJDQ&DVH1RFY
        '*& $UL]RQD 

                                                 

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    x   ([SHUW:LWQHVV*HRUJLD6WDWH&RQIRIWKH1$$&3HWDOY%ULDQ.HPS&DVH1R
        FY:&2 *HRUJLD 
    x   &RQVXOWDQW)HGHUDO9RWLQJ$VVLVWDQFH3URJUDP$QDO\]HGYRWLQJH[SHULHQFH
        RIPLOLWDU\DQGRYHUVHDVYRWHUV
    x   ([SHUW:LWQHVV3DJHY9LUJLQLD6WDWH%RDUGRI(OHFWLRQV1RFY
         ('9$ 
    x   ([SHUW:LWQHVV'HOJDGRY*DOYLQ '0$ 
    x   %HDXPRQW,QGHSHQGHQW6FKRRO'LVWULFW3UHSDUHGUHVSRQVHWR'2-GDWDUHTXHVW
    x   )HGHUDO9RWLQJ$VVLVWDQFH3URJUDP$QDO\]HGYRWLQJH[SHULHQFHRIPLOLWDU\DQG
        RYHUVHDVYRWHUV
    x   *HUVRQ/HKUPDQ*URXS3URYLGHGHOHFWLRQDQDO\VLVWRFRUSRUDWHFOLHQWV
    x   ([SHUW:LWQHVV%DFNXVY6RXWK&DUROLQD1RFY '6& 
    x   ([SHUW:LWQHVV:LOVRQY.DVLFK1R 2KLR6XS&W 
    x   &RQVXOWLQJ([SHUW%RQGXUDQW0L[VRQDQG(OPRUH//3 5HYLHZRI
        *HRUJLD VVWDWHOHJLVODWLYHDQGFRQJUHVVLRQDOUHGLVWULFWLQJ6HFWLRQVXEPLVVLRQ 
    x   &RQVXOWDQW1HZ-HUVH\&RQJUHVVLRQDO5HGLVWULFWLQJ&RPPLVVLRQ
    x   ([SHUW:LWQHVV3HUH]Y7H[DV1RFY :'7H[ 
    x   ([SHUW:LWQHVV:LOVRQY)DOOLQ1R2 2NOD6XS&W 
    x   &RQVXOWDQW8QLWHG6WDWHV)HGHUDO9RWLQJ$VVLVWDQFH3URJUDP
    x   &RQVXOWDQW9LUJLQLD*RYHUQRU¶V,QGHSHQGHQW%LSDUWLVDQ$GYLVRU\5HGLVWULFWLQJ
        &RPPLVVLRQ
    x   &RQVXOWDQW1HZ-HUVH\6WDWH/HJLVODWLYH5HGLVWULFWLQJ&RPPLVVLRQ
    x   ([SHUW:LWQHVV+HDOH\Y6WDWHHWDO&$1R6 86'&5, 
    x   5HVHDUFK7ULDQJOH,QVWLWXWH&RQVXOWDQWIRU(OHFWLRQ$VVLVWDQFH&RPPLVVLRQ
        (OHFWLRQ'D\6XUYH\
    x   866WDWH'HSDUWPHQW%ULHIHGYLVLWLQJIRUHLJQQDWLRQDOVRQ86HOHFWLRQV
    x   ([SHUW:LWQHVV/HDJXHRI:RPHQ9RWHUVRI)ORULGDY%URZQLQJ &9
        $/721$*$%52:1 
    x   3HZ&HQWHUIRUWKH6WDWHV&RQVXOWDQWIRU7UHQGVWR:DWFKSURMHFW
    x   ([SHUW:LWQHVV:DVKLQJWRQ$VVRFLDWLRQRI&KXUFKHVY5HHG &9 
    x   (OHFWRUDO$VVLVWDQFH&RPPLVVLRQ$QDO\]HGHOHFWLRQDGPLQLVWUDWLRQVXUYH\V
    x   $UL]RQD,QGHSHQGHQW5HGLVWULFWLQJ&RPPLVVLRQ&RQVXOWDQW
    x   ([SHUW:LWQHVV0LQRULW\&RDOLWLRQIRU)DLU5HGLVWULFWLQJHWDOY$UL]RQD
        ,QGHSHQGHQW5HGLVWULFWLQJ&RPPLVVLRQ&9  
    x   ([SHUW:LWQHVV5RGULJXH]Y3DWDNL)6XSSG 6'1< 
    x   &RQVXOWLQJ([SHUW2 /HDUY0LOOHU1R)6XSSG ('0LFK 
    x   ([SHUW:LWQHVV,Q5H5HGLVWULFWLQJ&DVHV &DVH1R6 
    x   ([SHUW:LWQHVV8QLWHG6WDWHVY8SSHU6DQ*DEULHO9DOOH\0XQLFLSDO:DWHU
        'LVWULFW &'&DO 
    x   &DOLIRUQLD6WDWH$VVHPEO\&RQVXOWDQW
    x   3DFWHFK'DWDDQG5HVHDUFK5HVHDUFK$VVRFLDWH$XJ-XQH

&DPSDLJQ3ROLWLFDO&RQVXOWDQW


                                              

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    x   5RQ&KULVWLDQIRU9LUJLQLD6WDWH6HQDWH-XQH±1RYHPEHU
    x   7KHUHVD0DUWLQH]IRU9LUJLQLD+RXVHRI'HOHJDWHV0D\
    x   6HQLRU&RQVXOWDQW&DOLIRUQLD6WDWH$VVHPEO\1RY±'HF
    x   &DOLIRUQLD$VVHPEO\'HPRFUDWV-XQH±1RYHPEHU
    x   6XVDQ'DYLV +RZDUG:D\QHIRU&$6WDWH$VVHPEO\µ
    x   ,QWHUQ-XQH±6HSW8&6DQ'LHJR6FLHQFHDQG7HFKQRORJ\3ROLF\DQG3URMHFWV

3ROOLQJ&RQVXOWDQW

    x   +LFNPDQ%URZQ-XO\$QDO\]HGQDWLRQDODQGVWDWHOHYHOH[LWDQG&36SROOVIRU
        XVHLQYDULRXVFDPSDLJQV$QDO\]HGVXUYH\VIRUFRQJUHVVLRQDOVWDWHDQGORFDOSROLWLFDO
        FDPSDLJQV
    x   'HFLVLRQ5HVHDUFK$XJ±'HF&RQGXFWHGDQGDQDO\]HVVXUYH\VIRU
        FRQJUHVVLRQDODQGVWDWHZLGHFDPSDLJQV
    x   6SHDNHU-RVHGH9HQHFLDRIWKH3KLOLSSLQHV)HE
    x   -RRQJ$QJ,OER5$1'2FW$QDO\]HGVXUYH\RI.RUHDQDWWLWXGHVRQQDWLRQDO
        VHFXULW\LVVXHV
    x   8&6'1RY&RQGXFWHGDQGDQDO\]HGVXUYH\RIVWXGHQWDWWLWXGHV




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